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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA
                                                         Criminal Action No. 23-490 (SHS)
         v.
                                                           Document Electronically Filed
 ROBERT MENENDEZ, et al.,
                                                        NOTICE OF MOTION FOR NEW
                Defendants.                                       TRIAL



       PLEASE TAKE NOTICE that Defendant Wael Hana hereby moves before the Honorable

Sidney H. Stein, United States District Judge for the Southern District of New York, at the Daniel

Patrick Moynihan United States Courthouse, 500 Pearl Street, New York, New York 10007, for

the entry of an order vacating the jury verdict and ordering a new trial.

       PLEASE TAKE FURTHER NOTICE that in support of this motion, Defendant Mr.

Hana shall rely upon the accompanying Brief Addressed to Evidence Improperly Provided to the

Jury and in Support of Motion for A New Trial, Declaration of Lawrence S. Lustberg, with exhibits

appended thereto, and Declaration of Wael Hana.

       PLEASE TAKE FURTHER NOTICE that oral argument is requested.

       PLEASE TAKE FURTHER NOTICE that a proposed Order is submitted herewith.

       PLEASE TAKE FURTHER NOTICE that Mr. Hana also joins in all applicable motions

filed by his co-defendants.

Dated: November 27, 2024                              Respectfully submitted,

                                                      s/ Lawrence S. Lustberg
                                                      Lawrence S. Lustberg
                                                      GIBBONS P.C.
                                                      One Gateway Center
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                                    Attorney for Defendant Wael Hana




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